         Case 20-11233-amc
 Fill in this information to identify the case:
                                               Doc      Filed 04/21/25 Entered 04/21/25 11:01:35                        Desc Main
                                                        Document      Page 1 of 3
B 10 (Supplement 2) (12/11) (post publication draft)
 Debtor 1    Christopher M. Graney
             __________________________________________________________________


 Debtor 2              ________________________________________________________________
 (Spouse, if filing)

                                         EASTERN
 United States Bankruptcy Court for the: ______________________             Pennsylvania
                                                                District of __________
                                                                            (State)
 Case number            20-11233-amc
                       ___________________________________________




Form 4100R
Response to Notice of Final Cure Payment                                                                                             10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:         Mortgage Information

                              Citizens Bank, N.A.
                                                                                                             Court claim no. (if known):
 Name of creditor:               ______________________________________                                      2
                                                                                                             _________________
                                                                                      7642
                                                                                      ____ ____ ____ ____
 Last 4 digits of any number you use to identify the debtor’s account:

 Property address:                218 Pine Ridge Road
                                 ________________________________________________
                                 Number      Street

                                 _______________________________________________

                                 Havertown, Pennsylvania 19083
                                 ________________________________________________
                                 City                        State    ZIP Code



 Part 2:         Prepetition Default Payments

  Check one:
   X
        Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim.

        Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date            $ __________
        of this response is:


 Part 3:         Postpetition Mortgage Payment

  Check one:
   X    Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
        the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

        The next postpetition payment from the debtor(s) is due on:             5____/_____/______
                                                                                       1     2025
                                                                                MM / DD    / YYYY

        Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
        of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
        Creditor asserts that the total amount remaining unpaid as of the date of this response is:
        a. Total postpetition ongoing payments due:                                                                      (a)   $ __________
        b. Total fees, charges, expenses, escrow, and costs outstanding:                                                + (b) $ __________
        c. Total. Add lines a and b.                                                                                     (c)     0.00
                                                                                                                               $ __________
        Creditor asserts that the debtor(s) are contractually
        obligated for the postpetition payment(s) that first became             ____/_____/______
        due on:                                                                 MM / DD / YYYY


Form 4100R                                               Response to Notice of Final Cure Payment                                   page 1
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Debtor 1
                 Christopher M. Graney
                _______________________________________________________
                                                                                                                   20-11233-amc
                                                                                              Case number (if known) _____________________________________
                First Name      Middle Name               Last Name




 Part 4:       Itemized Payment History


  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
         all payments received;
         all fees, costs, escrow, and expenses assessed to the mortgage; and
         all amounts the creditor contends remain unpaid.




 Part 5:       Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
  proof of claim.

  Check the appropriate box::

         I am the creditor.
  x I am the creditor’s authorized agent.


 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.
 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.


                                                                                                          04/21/25
                        /s/ Andrew M. Lubin
                   __________________________________________________                         Date    ____/_____/________
                   Signature




 Print             Andrew M. Lubin
                   _________________________________________________________                  Title    Attorney for creditor
                                                                                                      ___________________________________
                   First Name                      Middle Name         Last Name




 Company            McCabe, Weisberg & Conway,LLC
                   _________________________________________________________



 If different from the notice address listed on the proof of claim to which this response applies:



 Address            1420 Walnut Street, Suite 1501
                   _________________________________________________________
                   Number                 Street


                   Philadelphia, PA 19102
                   ___________________________________________________
                   City                                                State       ZIP Code




 Contact phone       215
                   (______) 790
                            _____–  1010
                                   _________                                                         ecfmail@mwc-law.com
                                                                                              Email ________________________




Form 4100R                                                        Response to Notice of Final Cure Payment                                       page 2
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                         UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA
In re:   Christopher M. Graney             Chapter 13
                                           Bankruptcy No. 20-11233-amc
                      Debtor(s)

Citizens Bank, N.A., or its Successor or
Assignee
                      Movant
              vs.

SCOTT F. WATERMAN (Chapter 13), Trustee
Christopher M. Graney
                    Respondent(s)

     CERTIFICATION OF SERVICE OF RESPONSE TO NOTICE OF FINAL CURE
                               PAYMENT

         I, Andrew M. Lubin, attorney for Citizens Bank, N.A., hereby certify that I served a true
 and correct copy of the foregoing Response to Notice of Final Cure Payment, by United States
 Mail, first class, postage prepaid, and/or electronic means, upon the following:
 Date Served:     04/21/25


 Christopher M. Graney             MICHAEL A. CIBIK                 SCOTT F. WATERMAN
 218 Pine Ridge Road               Cibik Law, P.C.                  (Chapter 13)
 Havertown, Pennsylvania           1500 Walnut Street               Chapter 13 Trustee
 19083                             Suite 900                        2901 St. Lawrence Ave.
                                   Philadelphia, PA 19102           Suite 100
                                   Attorney for Debtor              Reading, Pennsylvania 19606
                                                                    Trustee


                                   Office of the U.S. Trustee
                                   Robert N.C. Nix Federal
                                   Building
                                   Suite 320
                                   Philadelphia, PA 19107


                                       /s/ Andrew M. Lubin
                                       MARISA MYERS COHEN, ESQUIRE ID #87830
                                       ANDREW M. LUBIN, ESQUIRE ID # 54297
                                       Attorney for Citizens Bank, N.A.
                                       1420 Walnut Street, Suite 1501
                                       Philadelphia, PA 19102
                                       Telephone: (215) 790-1010
                                       Facsimile: (215) 790-1274
                                       Email: ecfmail@mwc-law.com
